                        EXHIBIT
                          A




Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 1 of 254 PageID #: 7
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 2 of 254 PageID #: 8
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 3 of 254 PageID #: 9
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 4 of 254 PageID #: 10
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 5 of 254 PageID #: 11
          THE.
    .
                                                           Division of Business Services
   Q AGRIСt URE
                                                               Department of State
                                                                 State of Tennessee
                                                               312 Rosa L. Parks AVE, 6th FL
                                                                 Nashville, TN 37243-1102
    Tre Hargett
 Secretary of State
 FEMSA                                                                                     11/23/2022
 AKA/POE: C/O CLEARY, GOTTLIEB, STEEN & HAMILTON
 ONE LIBERTY PLAZA
 NEW YORK, NY 10006-1470


 RE: MONACO INDUSTRIES, LLC

 VS: FOMENTO ECONOMICO MEXICANO S.A.B. DE C.V. D/B/A FEMSA, ENVOY SOLUTIONS, LLC,
    SOUTHEASTERN PAPER GROUP, LLC AND PENN JERSEY PAPER COMPANY, LLC

                                       Notice of Service
       The enclosed process, notice or demand is hereby officially served upon you by the
Tennessee Secretary of State pursuant to Tennessee law. Please refer to the process, notice or
demand for details concerning the legal matter. If you have any questions, please contact the
clerk of the court that issued the process, notice or demand.

       The process, notice or demand may have a court date and time that you must appear to
defend yourself or the number of days from the date of service by which you are required to file
an answer. Failure to appear in court at the time specified or failure to file an answer in the given
time could result in a default judgement being rendered against you for relief sought in the
lawsuit.

      The Secretary of State's office cannot give you legal advice. If you need legal advice,
please consult a private attorney.




                                                                 Tre Hargett
                                                                 Secretary of State
Enclosures: Original Documents

 DOCUMENT INFORMATION
 SOS Summons #: 13132002
 Case #:       205813-3
 Certified #:         9489009000276431570620




SS-4214 (Rev. 8/15)                                                                            RDA 1003
    Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 6 of 254 PageID #: 12
               IN THE CHANCERY=COURT FOR KNOX COUNTY, TENNESSEE

   MONACO INDUSTRIES, LLC,                      )
                                                )
           Plaintiff,                           )
                                                )
   v.                                           )       Docket No:    2о5g 13 r
                                                )
   FOMENTO ECONÓMICO                            )
   MEXICANO S.~.B. DE C.V.                      )
   d/b/a                                        )
   FEMSA,                                       )
                                                )
   and                                          )                                        С,,.
                                                                                                С;.')

                                                                                      (Л 1_      г~7
                                                )                                               ~       С/)
   ENVOY SOLUTIONS, LLC,                        )                                               г^ .і   --~
                                                )
                                                                                                        --~
   and                                          )                                                             .~~
                                                )
   SOUTHEASTERN                                 )                                                        ? •ц~
                                                                                                             ?Ï
   PAPER GROUP, LLC,                            )
                                                )
   and                                          )                                                       r~
                                                )
   PENN JERSEY                                   )
   PAPER COMPANY, LLC,                           )
                                                )
           Defendants.                           )

                                            SUMMONS

   To the above-named Defendant:         FEMSA
                                         c/o Cleary, Gottlieb, Steen & Hamilton
                                         One Liberty Plaza
                                         New York, NY 10006-1470

            You are hereby summoned and required to serve upon Jerrold L. Becker, Plaintiff's
    attorney, whose address is Bunstine, Watson & Becker, 800 S. Gay Street, Suite 2001,
    Knoxville, Tennessee 37929 response to the Complaint                    herewith served upon you
    within 30 days after service of this Summons and Complaint upon you, exclusive of the day of
    service. If you fail to do so, judgment by default can be taken against you for the relief
    demanded in the Complaint.




Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 7 of 254 PageID #: 13
          Issued and tested this    \   ч    day of   Ì~OV ~Y1'1iI~2~     , 2022.


                                                         Clerk
   ATTEST:
   Certified a True Copy

     7 SгØ                 Lд&'                          Deputy Clerk
       Clerk and Master Chancery Court

          By
                    Deputy Clerk



                                              NOTICE


   To the Defendant: FEMSA


           Tennessee law provides a ten thousand dollar ($10,000) personal property exemption from
   execution or seizure to satisfy a judgment. If a judgment should be entered against you in this
   action and you wish to claim property as exempt with the clerk of the court. The list may be filed
   at any time and may be changed by you thereafter as necessary; however, unless it is filed before
   the judgment becomes final, it will not be effective as to any execution or garnishment issued prior
   to filing of the list. Certain items are automatically exempt by law and do not need to be listed;
   these include items of necessary wearing apparel for yourself and your family and trunks or other
   receptacles necessary to contain such apparel, family portraits, the family Bible, and school books.
   Should any of these items be seized, you would have the right to recover them. If you do not
   understand your exemption right or how to exercise it, you may wish to seek the counsel of a
   lawyer.




Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 8 of 254 PageID #: 14
                                      SERVICE INFORMATION

   To the process server:                    FEMSA
                                             c/o Cleary, Gottlieb, Steen & Hamilton
                                             One Liberty Plaza
                                             New York, NY 10006-1470


   I received this summons on the _     day of                         , 2022.

   I hereby certify and return that on the         day of                        , 2022.

          [ ]     served this Summons and Complaint upon the Defendant in the following
                  manner:




          [   ]   failed to serve this summons within 90 days after its issuance because:




                                                    Process Server




                                                                                            ~r~~




Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 9 of 254 PageID #: 15
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 10 of 254 PageID #: 16
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 11 of 254 PageID #: 17
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 12 of 254 PageID #: 18
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 13 of 254 PageID #: 19
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 14 of 254 PageID #: 20
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 15 of 254 PageID #: 21
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 16 of 254 PageID #: 22
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 17 of 254 PageID #: 23
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 18 of 254 PageID #: 24
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 19 of 254 PageID #: 25
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 20 of 254 PageID #: 26
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 21 of 254 PageID #: 27
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 22 of 254 PageID #: 28
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 23 of 254 PageID #: 29
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 24 of 254 PageID #: 30
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 25 of 254 PageID #: 31
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 26 of 254 PageID #: 32
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 27 of 254 PageID #: 33
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 28 of 254 PageID #: 34
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 29 of 254 PageID #: 35
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 30 of 254 PageID #: 36
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 31 of 254 PageID #: 37
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 32 of 254 PageID #: 38
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 33 of 254 PageID #: 39
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 34 of 254 PageID #: 40
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 35 of 254 PageID #: 41
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 36 of 254 PageID #: 42
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 37 of 254 PageID #: 43
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 38 of 254 PageID #: 44
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 39 of 254 PageID #: 45
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 40 of 254 PageID #: 46
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 41 of 254 PageID #: 47
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 42 of 254 PageID #: 48
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 43 of 254 PageID #: 49
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 44 of 254 PageID #: 50
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 45 of 254 PageID #: 51
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 46 of 254 PageID #: 52
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 47 of 254 PageID #: 53
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 48 of 254 PageID #: 54
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 49 of 254 PageID #: 55
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 50 of 254 PageID #: 56
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 51 of 254 PageID #: 57
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 52 of 254 PageID #: 58
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 53 of 254 PageID #: 59
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 54 of 254 PageID #: 60
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 55 of 254 PageID #: 61
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 56 of 254 PageID #: 62
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 57 of 254 PageID #: 63
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 58 of 254 PageID #: 64
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 59 of 254 PageID #: 65
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 60 of 254 PageID #: 66
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 61 of 254 PageID #: 67
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 62 of 254 PageID #: 68
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 63 of 254 PageID #: 69
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 64 of 254 PageID #: 70
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 65 of 254 PageID #: 71
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 66 of 254 PageID #: 72
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 67 of 254 PageID #: 73
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 68 of 254 PageID #: 74
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 69 of 254 PageID #: 75
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 70 of 254 PageID #: 76
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 71 of 254 PageID #: 77
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 72 of 254 PageID #: 78
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 73 of 254 PageID #: 79
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 74 of 254 PageID #: 80
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 75 of 254 PageID #: 81
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 76 of 254 PageID #: 82
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 77 of 254 PageID #: 83
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 78 of 254 PageID #: 84
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 79 of 254 PageID #: 85
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 80 of 254 PageID #: 86
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 81 of 254 PageID #: 87
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 82 of 254 PageID #: 88
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 83 of 254 PageID #: 89
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 84 of 254 PageID #: 90
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 85 of 254 PageID #: 91
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 86 of 254 PageID #: 92
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 87 of 254 PageID #: 93
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 88 of 254 PageID #: 94
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 89 of 254 PageID #: 95
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 90 of 254 PageID #: 96
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 91 of 254 PageID #: 97
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 92 of 254 PageID #: 98
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 93 of 254 PageID #: 99
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 94 of 254 PageID #:
                                    100
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 95 of 254 PageID #:
                                    101
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 96 of 254 PageID #:
                                    102
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 97 of 254 PageID #:
                                    103
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 98 of 254 PageID #:
                                    104
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 99 of 254 PageID #:
                                    105
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 100 of 254 PageID #:
                                     106
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 101 of 254 PageID #:
                                     107
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 102 of 254 PageID #:
                                     108
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 103 of 254 PageID #:
                                     109
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 104 of 254 PageID #:
                                     110
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 105 of 254 PageID #:
                                     111
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 106 of 254 PageID #:
                                     112
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 107 of 254 PageID #:
                                     113
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 108 of 254 PageID #:
                                     114
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 109 of 254 PageID #:
                                     115
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 110 of 254 PageID #:
                                     116
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 111 of 254 PageID #:
                                     117
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 112 of 254 PageID #:
                                     118
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 113 of 254 PageID #:
                                     119
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 114 of 254 PageID #:
                                     120
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 115 of 254 PageID #:
                                     121
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 116 of 254 PageID #:
                                     122
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 117 of 254 PageID #:
                                     123
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 118 of 254 PageID #:
                                     124
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 119 of 254 PageID #:
                                     125
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 120 of 254 PageID #:
                                     126
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 121 of 254 PageID #:
                                     127
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 122 of 254 PageID #:
                                     128
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 123 of 254 PageID #:
                                     129
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 124 of 254 PageID #:
                                     130
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 125 of 254 PageID #:
                                     131
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 126 of 254 PageID #:
                                     132
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 127 of 254 PageID #:
                                     133
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 128 of 254 PageID #:
                                     134
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 129 of 254 PageID #:
                                     135
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 130 of 254 PageID #:
                                     136
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 131 of 254 PageID #:
                                     137
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 132 of 254 PageID #:
                                     138
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 133 of 254 PageID #:
                                     139
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 134 of 254 PageID #:
                                     140
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 135 of 254 PageID #:
                                     141
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 136 of 254 PageID #:
                                     142
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 137 of 254 PageID #:
                                     143
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 138 of 254 PageID #:
                                     144
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 139 of 254 PageID #:
                                     145
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 140 of 254 PageID #:
                                     146
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 141 of 254 PageID #:
                                     147
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 142 of 254 PageID #:
                                     148
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 143 of 254 PageID #:
                                     149
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 144 of 254 PageID #:
                                     150
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 145 of 254 PageID #:
                                     151
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 146 of 254 PageID #:
                                     152
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 147 of 254 PageID #:
                                     153
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 148 of 254 PageID #:
                                     154
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 149 of 254 PageID #:
                                     155
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 150 of 254 PageID #:
                                     156
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 151 of 254 PageID #:
                                     157
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 152 of 254 PageID #:
                                     158
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 153 of 254 PageID #:
                                     159
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 154 of 254 PageID #:
                                     160
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 155 of 254 PageID #:
                                     161
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 156 of 254 PageID #:
                                     162
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 157 of 254 PageID #:
                                     163
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 158 of 254 PageID #:
                                     164
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 159 of 254 PageID #:
                                     165
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 160 of 254 PageID #:
                                     166
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 161 of 254 PageID #:
                                     167
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 162 of 254 PageID #:
                                     168
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 163 of 254 PageID #:
                                     169
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 164 of 254 PageID #:
                                     170
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 165 of 254 PageID #:
                                     171
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 166 of 254 PageID #:
                                     172
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 167 of 254 PageID #:
                                     173
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 168 of 254 PageID #:
                                     174
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 169 of 254 PageID #:
                                     175
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 170 of 254 PageID #:
                                     176
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 171 of 254 PageID #:
                                     177
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 172 of 254 PageID #:
                                     178
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 173 of 254 PageID #:
                                     179
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 174 of 254 PageID #:
                                     180
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 175 of 254 PageID #:
                                     181
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 176 of 254 PageID #:
                                     182
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 177 of 254 PageID #:
                                     183
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 178 of 254 PageID #:
                                     184
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 179 of 254 PageID #:
                                     185
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 180 of 254 PageID #:
                                     186
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 181 of 254 PageID #:
                                     187
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 182 of 254 PageID #:
                                     188
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 183 of 254 PageID #:
                                     189
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 184 of 254 PageID #:
                                     190
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 185 of 254 PageID #:
                                     191
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 186 of 254 PageID #:
                                     192
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 187 of 254 PageID #:
                                     193
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 188 of 254 PageID #:
                                     194
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 189 of 254 PageID #:
                                     195
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 190 of 254 PageID #:
                                     196
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 191 of 254 PageID #:
                                     197
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 192 of 254 PageID #:
                                     198
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 193 of 254 PageID #:
                                     199
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 194 of 254 PageID #:
                                     200
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 195 of 254 PageID #:
                                     201
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 196 of 254 PageID #:
                                     202
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 197 of 254 PageID #:
                                     203
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 198 of 254 PageID #:
                                     204
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 199 of 254 PageID #:
                                     205
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 200 of 254 PageID #:
                                     206
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 201 of 254 PageID #:
                                     207
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 202 of 254 PageID #:
                                     208
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 203 of 254 PageID #:
                                     209
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 204 of 254 PageID #:
                                     210
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 205 of 254 PageID #:
                                     211
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 206 of 254 PageID #:
                                     212
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 207 of 254 PageID #:
                                     213
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 208 of 254 PageID #:
                                     214
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 209 of 254 PageID #:
                                     215
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 210 of 254 PageID #:
                                     216
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 211 of 254 PageID #:
                                     217
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 212 of 254 PageID #:
                                     218
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 213 of 254 PageID #:
                                     219
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 214 of 254 PageID #:
                                     220
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 215 of 254 PageID #:
                                     221
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 216 of 254 PageID #:
                                     222
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 217 of 254 PageID #:
                                     223
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 218 of 254 PageID #:
                                     224
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 219 of 254 PageID #:
                                     225
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 220 of 254 PageID #:
                                     226
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 221 of 254 PageID #:
                                     227
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 222 of 254 PageID #:
                                     228
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 223 of 254 PageID #:
                                     229
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 224 of 254 PageID #:
                                     230
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 225 of 254 PageID #:
                                     231
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 226 of 254 PageID #:
                                     232
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 227 of 254 PageID #:
                                     233
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 228 of 254 PageID #:
                                     234
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 229 of 254 PageID #:
                                     235
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 230 of 254 PageID #:
                                     236
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 231 of 254 PageID #:
                                     237
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 232 of 254 PageID #:
                                     238
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 233 of 254 PageID #:
                                     239
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 234 of 254 PageID #:
                                     240
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 235 of 254 PageID #:
                                     241
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 236 of 254 PageID #:
                                     242
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 237 of 254 PageID #:
                                     243
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 238 of 254 PageID #:
                                     244
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 239 of 254 PageID #:
                                     245
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 240 of 254 PageID #:
                                     246
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 241 of 254 PageID #:
                                     247
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 242 of 254 PageID #:
                                     248
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 243 of 254 PageID #:
                                     249
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 244 of 254 PageID #:
                                     250
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 245 of 254 PageID #:
                                     251
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 246 of 254 PageID #:
                                     252
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 247 of 254 PageID #:
                                     253
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 248 of 254 PageID #:
                                     254
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 249 of 254 PageID #:
                                     255
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 250 of 254 PageID #:
                                     256
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 251 of 254 PageID #:
                                     257
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 252 of 254 PageID #:
                                     258
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 253 of 254 PageID #:
                                     259
Case 3:22-cv-00459-JRG-DCP Document 1-1 Filed 12/22/22 Page 254 of 254 PageID #:
                                     260
